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C DEPARTMENT OF HEALTH & HUNAN SERVICES Public Health Servica
"en Food and Drug Administration
Rockville, MD 20857
Andrew G. Finkelstein pret ee
Finkelstein and Partners . 4 }
436 Robinson Avenus
Newburgh, NY 12550 APA 12 206 |
Re: Neurontin i

 

Dear Mr, Finkelstein:

This is in response to your letter dated March 21, 2005, which raises several questions about the
relationship between treatment with Neugontin and suicide, With the letter, yon provided 258
MedWatch forms of patients whom yolk state committed suicide while being treated with
Neurontin, and you make several allegations about FDA’s handling of this matter. Your letter
references the Citizen Petition you submitted on May 17, 2004, requesting that FDA require
Pfizer Inc, the manufacturer of Neurontin, to amend the dmg labeling to warn prescribers and
health care professionals of the escalating numbers of postmarketing safety reports of completed
suicides by patients treated with Neuroptin for both its labeled and unlabeled indications.
Because you indicated that you wanted td maintain your clients’ confidentiality with regard to
the data regarding suicides that you compiled in connection with litigation, your citizen petition
was supported only by adverse event reports (AERs) you obtained from FDA’s spontaneous
reporting system under the Freedom of Information Act. I will address the matter of these data
later in this response.

First, let me assure you that we are taking this matter very seriously, and have given it a great
deal of attention since you first contacted! us about it. As your March 21 letter states, we sent
you an interim response to your citizen petition, as provided by our regulations, on November 5,
2004. We are currently in the process of reviewing your Citizen Petition. Our response will be
based on the data and information submitted with the Citizen Petition, as well as data available to
us in the new drug application (NDA) for Neurontin, and other data from our postmarketing
surveillance system. However, given that you have now submitted MedWatch forms for 258
individuals, and that those reports are dlearly relevant to the issues raised by your citizen
petition, we believe that we cannot fully respond to your petition without considering those
reports. Unfortunately, our review of those reports will take some time, not only because of the
need to ascertain which are duplicative ofjreports already reported to MedWatch but because of
the need to carefully investigate the facts of each report.

 

In our conversation with you of March 14, 2004, you indicated that the vast majority of patients
in your database who committed suicide were receiving treatment with Neurontin for psychiatric
illnesses. We noted at that time that these illnesses are well-known to be associated with an
increased risk of suicide compared to the general population. Further, in the absence of an
appropriate control group, it will be diffigult, if not impossible, to assess the role of any other
factors that might explain these events, su¢h as concomitant medications. For these reasons, we
